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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

Case No. 2:22-cv-03868-AFM                                                     Date: July 11, 2022
Title       BackGrid USA, Inc. v. iHeartMedia, Inc. et al


Present: The Honorable:         ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                    Ilene Bernal                                              N/A
                    Deputy Clerk                                     Court Reporter / Recorder

          Attorneys Present for Plaintiff:                      Attorneys Present for Defendants:
                       N/A                                                    N/A

Proceedings (In Chambers): ORDER TO SHOW CAUSE

        Defendants must answer the complaint within 21 days after service (60 days if the defendant is the
United States). FED. R. CIV. P. 12(a). In the present case, it appears that this has not taken place.
Accordingly, the Court, on its own motion, orders plaintiff to show cause in writing on or before July 21,
2022, why this action should not be dismissed for lack of prosecution. Pursuant to Rule 78(b) of the Federal
Rules of Civil Procedure, the Court finds that this matter is appropriate for submission without oral argument.
The Order to Show Cause will stand submitted on that date.

        Filing of the following on or before the date indicated above will constitute a satisfactory response to
the Order to Show Cause:

        ց       An appearance by all defendants who have been served or an application for entry of default
                pursuant to Rule 55(a) of the Federal Rules of Civil Procedure [as to iHeartMedia, Inc.]


        IT IS SO ORDERED.


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                                                                         Initials of Preparer           ib




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